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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


In re:                                    )
                                          )                 CHAPTER 11
EAT HERE BRANDS, LLC, et al.1             )
                                          )                 Lead Case No.: 19-61688-WLH
                  Debtors.                )
_________________________________________ )                 (Jointly Administered)

   LIMITED OBJECTION TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I)
  ESTABLISHING A PROCEDURE FOR DETERMINING CLAIMS ARISING UNDER
  THE PERISHABLE AGRICULTURAL COMMODITIES ACT; (II) AUTHORIZING
 THE DEBTORS TO PAY CERTAIN PRE-PETITION CLAIMS ARISING UNDER THE
    PERISHABLE AGRICULTURAL COMMODITIES ACT; AND (III) GRANTING
                          RELATED RELIEF

         COME NOW FreshPoint Atlanta, Inc. (“FreshPoint Atlanta”), FreshPoint North

Carolina, Inc. t/a FreshPoint Raleigh and t/a FreshPoint Nashville, Inc. (“FreshPoint North

Carolina”) and Creation Gardens, Inc. (“Creation”) (FreshPoint Atlanta, FreshPoint Nashville,

and Creation are the “PACA Creditors”), by and through undersigned counsel, and file this

limited objection to the Debtors’ Motion for Entry of an Order (I) Establishing a Procedure for

Determining Claims Arising Under the Perishable Agricultural Commodities Act; (II) Authorizing

the Debtors to Pay Certain Pre-Petition Claims Arising Under the Perishable Agricultural

Commodities Act; and (III) Granting Related Relief (the “PACA Motion”) [Docket No. 58] filed

by Debtors Eat Here Brands, LLC (“Eat Here”), Babalu Atlanta #1 LLC, Babalu Atlanta #2 LLC,

Babalu Knoxville #1, LLC, Babalu Memphis #1, LLC, Babalu Memphis #2 LLC, Babalu, LLC,




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC
(4025); Babalu Atlanta #2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1
LLC (9320); Babalu Memphis #2 LLC (4558); Babalu, LLC (7673); and Babalu Birmingham #1
LLC (1892). The Debtors’ mailing address is 9755 Dogwood Road, Suite 200, Roswell, Georgia
30075.
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and Babalu Birmingham #1, LLC (collectively, “Debtors”). In support of their limited objection,

PACA Creditors respectfully submit the following:

                                 I.      FACTUAL BACKGROUND

       1.      Debtors filed their voluntary petition for relief under Chapter 11 of the

Bankruptcy Code on July 30, 2019 (the “Petition Date”).

       2.      Debtors are continuing in possession of their business and property as debtors-in-

possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

       3.      Debtors are purchasers of wholesale quantities of produce subject to licensure under

the provisions of the Perishable Agricultural Commodities Act, 7 U.S.C. § 499a, et seq.

(“PACA”).

       4.      Pre-petition, PACA Creditors2 sold and delivered to Debtors, in interstate

commerce or contemplation thereof, wholesale quantities of produce all of which were accepted

by Debtors and which remain due and owing in the following principal amounts.


                       PACA Creditor                Principal Balance Owed3
                 FreshPoint Atlanta                        $17,254.64
                 FreshPoint North Carolina                 $31,560.46
                 Creation Gardens4                         $13,393.75
                 Total                                     $62,208.85

2
  Undersigned counsel also represents Sunrise Fresh Produce, LLC t/a Sunrise Produce Jackson
(“Sunrise”), which has also submitted documentation supporting its PACA claim to Debtors.
Debtors and Sunrise have agreed to compromise Sunrise’s PACA claim, and that the terms of the
compromise should be set forth in any order granting the PACA Motion. Sunrise reserves all
rights in the event Debtors do not comply with their agreement.
3
 Amounts indicated reflect the principal PACA trust debt only and do not include interest or
attorneys’ fees. Any amounts owed for non-produce items have been excluded.
4
 Creation Gardens’ deliveries were made to a defunct subsidiary of the Debtors, Babalu
Lexington #1, LLC, and certain deliveries by FreshPoint North Carolina were made to another
defunct subsidiary of Debtors, Babalu Chapel Hill #1, LLC. Based on the common ownership
and control of all Debtors and their subsidiaries, their admitted commingling of funds, and
Debtor Eat Here’s inclusion of these claims on its schedules, there can be no reasonable dispute
that asserting these claims against Debtors is appropriate.
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See FreshPoint Atlanta’s PACA license information, statement of account, and representative

sample invoices, attached hereto as Exhibit 1; FreshPoint North Carolina’s PACA license

information, statement of account, and representative sample invoices, attached hereto as Exhibit

2; and Creation Gardens’ PACA license information, statement of account, and representative

sample invoices, attached hereto as Exhibit 3.5

       5.      Each of the PACA Creditors is licensed under PACA and timely preserved its

respective interest in the statutory trust arising under PACA by including the statutory language

on the face of its invoices to Debtors. 7 U.S.C.§ 499e(c)(4). FreshPoint Atlanta’s and FreshPoint

North Carolina’s invoices include terms providing for payment of interest at 18% per annum and

collection of attorneys’ fees. See Exhibits 1-2 hereto. Creation Gardens’ invoices include terms

providing for recovery of attorneys’ fees and collection costs. See Exhibit 3 hereto.

       6.      On August 20, 2019, this Court entered a Final Order (I) Authorizing the Debtor to

(A) Obtain Postpetition Financing on a Secured, Superpriority Basis and (B) Use Cash Collateral,

(II) Granting Adequate Protection, and (III) Scheduling a Final Hearing [Doc. 69], as amended (the

“Final DIP Order”). The Final Order specifically provides the nothing therein shall be construed

to prime, diminish or impair the rights of Debtors’ PACA trust creditors, “provided, however, that

(i) the PACA Claimants shall be required to comply with all terms, conditions, and procedures of

any Order granting the [PACA Motion].” Final DIP Order ¶ 7.

       7.      On August 8, 2019, Debtors filed their PACA Motion, stating that

       Debtors believe a certain portion of the goods purchased from vendors prior to the
       Petition Date may qualify as ‘perishable agricultural commodities’ under PACA.
       As a result, insofar as those vendors abide by the notice requirements of PACA,
       such vendors will be eligible to assert PACA Claims granting them priority ahead
       of all other secured and unsecured creditors in these Bankruptcy Cases.

5
 Full and complete copies of these records, including all of PACA Creditors’ invoices, have
previously been provided to counsel for Debtors.
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PACA Motion ¶ 12. Debtors estimate PACA claims of $121,589. Id. Debtors request a bar date of

October 4, 2019 for all creditors asserting claims under PACA to file a “PACA Claim” with the

Court, and serve the PACA Claim on counsel for Debtors. PACA Motion ¶ 14.

       8.      However, in the relief requested by Debtors, they also seek the unilateral discretion to

determine whether a PACA Claim is valid. Id. ¶ 14. And, even when Debtors agree that a PACA

Claim is valid, they seek the authority, but not the direction or requirement, to pay such valid PACA

Claims only to the extent that such claims are within the dollar amounts set forth in the Budget. Id. ¶

14.

                                II.      BASIS FOR OBJECTION

       9.      PACA Creditors do not object to a bar date or reasonable procedure to review,

reconcile, and promptly pay valid PACA trust claims in full. But they object to the procedure

proposed by Debtors because it merely authorizes, but does not direct, Debtors to pay valid PACA

trust claims, violates the prompt payment requirement under the PACA, and caps the amount of

such PACA claims to those figures in the Budget. The procedure proposed by Debtors also lacks

a mechanism for the resolution of any disputes relating to the PACA claims and does not provide

for segregation of sufficient funds to pay PACA claims in full.

                                        III.   ARGUMENT

       10.     The PACA was enacted in 1930 to encourage fair trading in the marketing of

produce and to prevent unfair and fraudulent practices in an industry peculiarly susceptible to such

practices. See H. Rep. No. 543, 98th Cong., 1st Sess. (1983), reprinted in 1984 U.S. Code Cong &

Admin News 405, 406. To achieve this purpose, the amendment established a statutory trust under

which a receiver of produce holds as a fiduciary its produce-related assets, such as the produce

itself or other products derived therefrom, as well as any receivables of proceeds from the sale

thereof, and any assets purchased or commingled with such proceeds until full payment is made
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to the seller. 7 U.S.C. § 499e(c)(2); Frio Ice, S.A. v. Sunfruit, Inc., 918 F.2d 154 (11th Cir. 1990);

In re Kornblum & Co., Inc., 81 F.3d 280 (2d Cir. 1996); Sanzone-Palmisano Co. v. M. Seaman

Enterprises, Inc., 986 F.2d 1010, 1013 (6th Cir. 1993). Under the PACA, suppliers of produce

who properly preserve their trust rights become beneficiaries of a floating, non-segregated

statutory trust that arises on delivery of the buyer’s first produce order and continues until the

suppliers are paid in full. Country Best v. Christopher Ranch, LLC, 361 F.3d 629, 632 (11th Cir.

2004); see also In re Atlantic Tropical Mkt. Corp., 118 B.R. 139, 141 (Bankr. S.D. Fla. 1990); In

re Kornblum & Co., Inc., 81 F.3d 280; Sanzone-Palmisano Co., 986 F.2d at 1013; 7 C.F.R. § 46.46.

       11.     Here, PACA Creditors are unpaid for wholesale quantities of produce supplied to

Debtors worth the principal amount of $62,208.85. PACA Creditors, all of which are PACA

licensees, preserved their trust rights by delivering to Debtors invoices including the provisions of

7 U.S.C. § 499e(c)(4). See Exhibits 1 - 3 hereto. This balance remains outstanding despite Debtors’

receipt and acceptance of the produce, and their use and benefit of these produce items.

       12.     The scope of PACA Creditors’ trust claims, and those of similarly situated trust

beneficiaries, include include all “sums owing in connection” with the produce sales under the

trust provisions of PACA pursuant to 7 U.S.C. § 499e(c)(2). This section provides:

               [Produce] received by a ... dealer ... in all transactions, and all inventories
               of food or other products derived from [produce], and any receivables or
               proceeds from the sale of such commodities or products, shall be held in
               trust for the benefit of all unpaid suppliers or sellers of such commodities ...
               until full payment of the sums owing in connection with such
               transactions has been received by such unpaid suppliers, sellers, or agents.

7 U.S.C. § 499e(c)(2) (emphasis added). In interpreting the “sums owing in connection” language,

several circuit courts of appeal, including the Eleventh Circuit, have held that a PACA trust

creditor can recover attorneys’ fees and interest as part of its PACA trust claim, if such a recovery

is part of the parties’ contract. Country Best, 361 F.3d at 632 (stating that the language in 7 U.S.C.

499e(c)(2) “unambiguously encompasses not only the price of commodities but also additional
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related expenses … includ[ing] attorney fees and interest that buyers and sellers have bargained

for in their contracts”); Coosemans Specialties, Inc. v. Gargiulo, 485 F.3d 701, 709 (2d Cir. 2007)

(“where the parties’ contracts include a right to attorneys’ fees, they can be awarded as ‘sums

owing in connection with’ perishable commodities transactions under PACA”); Middle Mountain

Land & Produce v. Sound Commodities, 307 F.3d 1220, 1224 (9th Cir. 2002) (“it cannot be

contended seriously that interpreting PACA claims to include contractual rights to attorneys’ fees

and interest under the ‘in connection with’ language of the statute is contrary to the statute’s

purpose”). Allowing recovery of contract-based attorneys’ fees is consistent with PACA’s goal

“to give produce sellers a meaningful opportunity to recover full payment of the amounts due for

their sales.” Country Best, 361 F.3d at 632.

       13.     Subsection 2 of §499e(c), defines the corpus of the trust as all produce including

all inventories of food or other products derived from produce, and all receivables or proceeds

from the sale of produce or its products. 7 U.S.C. §499e(c)(2). The trust also extends to all

inventory of produce a buyer obtained with a commingled account, and to any other assets acquired

or maintained with PACA trust funds. In re Atlantic Tropical Market Corp., 118 B.R. 139 at 141;

Sanzone-Palmisano Company, 986 F.2d at 1012-13; In re Kornblum, 81 F.3d at 286. All assets of

a produce buyer are presumed to be impressed with the PACA trust. In re Atlantic Tropical Market

Corp., 118 B.R. 139 at 141; Sanzone-Palmisano Company, 986 F.2d 1012-13.

       14.     Debtors are required by PACA, a federal statute co-equal with the Bankruptcy

Code, to pay promptly for produce and to maintain sufficient assets in trust until full payment is

made to all of their PACA trust beneficiaries, even in the event of the filing of bankruptcy. Frio

Ice, 918 F.2d at 156; 49 Fed. Reg. at 45738; 7 U.S.C. § 499b(4). Congress also specifically directed

that the failure to maintain the trust and make full payment promptly to the trust beneficiary is

unlawful. 7 U.S.C. § 499b(4). Agricultural merchants, dealers and brokers “are required to maintain

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trust assets in a manner that such assets are freely available to satisfy outstanding obligations to sellers

of perishable agricultural commodities[,]” and any act or omission inconsistent with this

responsibility, including dissipation of trust assets, is proscribed. 7 C.F.R. § 46.46(e)(1). Dissipation

of trust assets is defined as “any act or failure to act which could result in the diversion of trust

assets or which could prejudice or impair the ability of unpaid [sellers] to recover money owed in

connection with produce transactions.” 7 C.F.R. § 46.46(a)(2). Congress also specifically directed

that the failure to maintain the trust and make full payment promptly to the trust beneficiary is

unlawful. 7 U.S.C. § 499b(4).

        15.     PACA trust assets are not considered part of the bankruptcy estate. In re Kornblum

& Co., Inc., 81 F.3d at 284; 11 U.S.C. § 541(d). The PACA trust provision provides that unpaid

produce sellers “are placed first in line among creditors for all produce-related assets if the produce

dealer declares bankruptcy.” Frio Ice, 918 F.2d at 156. “It is clear from the terms of the PACA

amendments and from the supporting legislative history that Congress intended to create a priority

status for unpaid produce claimants, priming even the administrative claims which normally stand

first in line in a bankruptcy distribution.” In re Fresh Approach, Inc., 51 B.R. 412, 420 (Bankr.

N.D. Tex. 1985) (emphasis in original). “Allowing a defunct PACA trustee to pay other creditors

with PACA funds before the seller is paid in full would frustrate [the purpose of PACA], and

would be contrary to the language of PACA and its accompanying regulations.” C.H. Robinson

Company v. Alanco Corp., 239 F.3d 483, 488 (2nd Cir. 2001).              Thus, there is no question that

PACA trust assets are not property of the Debtors’ estate and must be set aside for distribution to

trust beneficiaries. In re Long John Silver’s Restaurants, Inc., 230 B.R. 29, 32 (Bankr. D. Del.

1999); In re Kelly Food Products, Inc., 204 B.R. 18 (Bankr. C.D. Ill. 1997); Morris Okun, Inc. v.

Harry Zimmerman, Inc., 814 F. Supp. 346, 348 (S.D.N.Y. 1993); In re Southland & Keystone, 132

B.R. 632 (9th Cir. BAP 1991); In re Asinelli, Inc., 93 B.R. 433 (M.D.N.C. 1988); In re Carolina

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Produce Distributors, Inc., 110 B.R. 207 (W.D.N.C. 1990); In re Fresh Approach, Inc., 48 B.R.

926 (Bankr. 1985); In re Milton Poulos, Inc., 94 B.R. 648 (Bankr. C.D.Cal. 1988); see also 11

U.S.C. § 541(d) (property in which debtor holds legal title, but not an equitable interest, does not

become part of the estate). Debtors concede this point in their PACA Motion. PACA Motion ¶

12.

       16.     Furthermore, PACA beneficiaries are entitled to immediate turnover of their trust

funds upon the commencement of a bankruptcy. In re Fresh Approach, 51 B.R. 412 (Bankr.

N.D.Tex. 1985); In re Kelly Food Products, Inc., 204 B.R. 18; In re W.L. Bradley Co., Inc., 75

B.R. 505 (Bankr. E.D.Pa 1987). Unpaid produce suppliers are entitled to immediate relief, either

by the segregation of trust assets, Frio Ice, S.A. 918 F.2d at 156; Dole Fresh Fruit Co. v. United

Banana Co., 821 F.2d 106 (2d Cir. 1987); In re Richmond Produce Co., Inc., 112 B.R. 364

(N.D.Cal. 1990); J.R. Brooks & Son v. Norman’s Country Market, 98 B.R. 47, 50 (N.D.Fla. 1989),

or by immediate payment. In re Kelly Food Products, Inc., 204 B.R. 18 (Debtors required to

immediately pay trust assets to the PACA trust creditors).          Accordingly, as PACA trust

beneficiaries, PACA Creditors are lawfully entitled to immediate turnover of their PACA trust

assets. In re Kelly Food Products, Inc., 204 B.R. 18; In re W.L. Bradley Co., Inc., 75 B.R. 505;

and In re Fresh Approach, Inc., 51 B.R. 412.

       17.     Where, as here, Debtors are continuing operations and using cash collateral

belonging to PACA Creditors, including substantial payments made to Debtors’ professionals,

steps must be taken to ensure that the rights of PACA trust creditors are adequately protected and

that Debtors are complying with their obligations under PACA. The proposed procedure set forth

in the PACA Motion impermissibly provides for full discretion for Debtors to review PACA

claims and caps the amount that qualified trust beneficiaries can recover.




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       18.     Debtors have also tied the relief to be granted on the PACA Motion to the

protections for all PACA trust beneficiaries set forth in paragraph 21 the Final DIP Order. This

paragraph ensures that the rights granted to the Debtors’ DIP Lender do not prime, diminish or

impair the rights of Debtors’ PACA trust beneficiaries, to the extent these beneficiaries comply

with the terms, conditions and procedures of any order granting the PACA Order. DIP Order ¶

21. It is appropriate to provide an orderly procedure to determine the scope of valid trust claims,

and the resulting impact on the Debtors and the DIP Lender’s interests. But, by requesting that

the recovery for all PACA beneficiaries be limited to funds so earmarked in the Budget by the DIP

Lender and Debtors, Debtors and the DIP Lender have craftily attempted to cap the overall interests

of PACA trust beneficiaries in the Debtors’ assets, and the protections granted to them by the Court

in the Final DIP Order. This appears to be an attempt to impermissibly impair the rights of all of

Debtors’ PACA beneficiaries by tying their interests to the budgeted amounts, and thereby limiting

their protections in the Final DIP Order.

       19.     A review of the Budget, attached as Exhibit 4 for the Court’s convenience, shows

that funds have specifically been earmarked for payment of certain, specific PACA creditors; these

aggregate amounts through October 27, 2019 as set out in the Budget are as follows: “FreshPoint

PACA Claim”: budgeted $57,089; “Sunrise, Creative Gardens,6 and Piazza PACA Claims”:

budgeted $64,500. Although, by now, FreshPoint should have received five (5) payments under

the timeline set out in the Budget, it has received only one (1) payment on August 5, 2019.

Debtors’ failure to comply with the payments set forth in the budgeted amounts draws into question

their true intentions regarding payment of PACA claims. And the total amount budgeted for

“FreshPoint” does not include the full amount of FreshPoint Atlanta’s and FreshPoint North



6
 Presumably, the “Creative Gardens” listed in the Budget as a PACA creditor is the PACA Creditor,
Creation Gardens, listed on the Debtors’ schedules and is an objecting party here.
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Carolina’s claims, inclusive of interest and attorneys’ fees, all of which are “sums owing in

connection” with the underlying produce debt. FreshPoint Atlanta and FreshPoint North Carolina

estimate that their full aggregate PACA claims are not less than $69,000.00, an amount which will

increase because they have been compelled to file this objection and preserve their rights and those

of similarly situated trust beneficiaries due to Debtors’ intransigence.

       20.     For unknown reasons, although they are all co-beneficiaries of the PACA trust,

Sunrise, “Creative” Gardens, and Piazza have all been aggregated in a separate category from

FreshPoint in the Budget. Sunrise has agreed to compromise its PACA claim for $14,228.56,

leaving $50,271.44 earmarked only for “Creative” Gardens and Piazza. Creation Gardens’

invoices also provide for payment of attorneys’ fees and costs on past due accounts. The true

amount of Piazza’s PACA claim is unknown. Additionally, not only have Debtors failed to

account for payment of all “sums owing in connection” with their PACA claims, they have failed

to account for all PACA beneficiaries. For instance, Robertson Produce of Mississippi, LLC filed

a Proof of Claim asserting it is a PACA creditor in the amount of $32,305.48. Claim No. 21.

Public records show it is a dealer licensed under PACA. Debtors apparently have not accounted

for the PACA trust claims of this company, or any other company not discussed herein. Instead,

Debtors limit the amount available for payment of PACA claims to “the dollar amounts set forth

in the Budget,” or $121,589. Meanwhile, over this same period, Debtors’ counsel is budgeted to

receive $325,000 (AGG/Shulten) and their financial advisor is budgeted to receive $227,000 (GGG).

       21.     These facts show that the PACA Motion and the budgeted funds are an empty

promise, designed to placate unpaid PACA creditors while Debtors continue to use their trust

assets as cash collateral to continue their operations and pay their professionals. Debtors are

required to maintain PACA trust assets, which are not estate assets, and make full payment

promptly to the PACA beneficiaries, even in the event of bankruptcy. They are currently in

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violation of the statute, and the relief they request would allow them to continue to violate the

statute and continue to cause the very harms Congress intended to prevent, such as Debtors’

unlawfully delaying payment of PACA trust assets and failing to pay their PACA beneficiaries in

full.

        22.    PACA Creditors agree that a deadline to submit PACA claims is warranted and that

October 4, 2019 is a reasonable amount of time in order to provide notice to Debtors’ creditors of

their need to file a PACA Claim. However, PACA Creditors request that the Order also require

that Debtors segregate sufficient funds to pay all PACA beneficiaries, including an estimate of the

“sums owed in connection” with their underlying PACA Claims, which should be increased if

filed PACA Claims exceed the segregated amount. Debtors also should be directed to pay all

undisputed PACA Claims within 10 days of their filing.7 To the extent there is a good faith dispute

that cannot be resolved by agreement, Debtors should then be required to file a report with the

Court detailing their objections, to which the PACA creditors could respond and seek a ruling from

the Court.

                                     IV.    CONCLUSION

        23.    For the foregoing reasons, the PACA Creditors respectfully request that this Court

(a) require Debtors to immediately segregate sufficient funds to pay all of their PACA creditors in

full, which amount should be increased if filed PACA Claims exceed the estimated amount; and

(b) hold that the PACA Creditors must be paid unconditionally, promptly, and in full for their

PACA trust claims.




7
 PACA’s default prompt payment term is 10 days. 7 C.F.R. § 46.2(aa)(5). All of the claims
would be significantly past due by October 4, 2019, so PACA beneficiaries should not have to
wait any longer for payment of their undisputed PACA claims.
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      Respectfully submitted this 9th day of September, 2019.


                                                    s/ Kevin A. Maxim
                                                    Kevin A. Maxim
                                                    Georgia Bar No. 478580
                                                    Attorney for
                                                    FreshPoint Atlanta, Inc.,
                                                    FreshPoint North Carolina, Inc. (t/a
                                                    FreshPoint Raleigh and t/a FreshPoint
                                                    Nashville, Inc.),
                                                    Sunrise Fresh Produce, LLC (t/a Sunrise
                                                    Jackson),
                                                    Sysco Central Alabama, Inc.,
                                                    Sysco Charlotte, LLC,
                                                    Sysco Knoxville, LLC,
                                                    Sysco Memphis, LLC,
                                                    Sysco Jackson, LLC, and
                                                    Creation Gardens, Inc.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2019, a copy of the foregoing limited objection was

served (a) via the Court’s CM/ECF system to any party who has filed a request for notice pursuant

to Rule 2002 of the Bankruptcy Rules, and (b) on Debtors’ counsel by e-mail (to

Darryl.Laddin@AGG.com) by depositing a copy in the first class United States mail, postage pre-

paid, and addressed to: Arnall Golden Gregory, LLC, Attn: Darryl Scott Laddin, 171 17th Street,

NW, Suite 2100, Atlanta, Georgia 30363.



                                                      /s/ Kevin A. Maxim
                                                      Kevin A. Maxim




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